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 8                            UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,         )      Case No. 03CR05111-01 AWI
                                       )
11                       Plaintiff,    )      STIPULATION RE: CONTINUANCE OF
                                       )      SENTENCING HEARING; ORDER
12                       v.            )
                                       )      Current Sentencing
13   JULIO CESAR RUIZ, et. al.,        )      Hearing Date: May 21, 2007
                                       )      Hearing Time: 9:00 AM
14                       Defendant.    )
                                       )
15                                     )
16        In accordance with the stipulation between the government,
17   the defendant JULIO CESAR RUIZ, by and through his counsel of
18   record, Joseph T. Vodnoy, and based upon the record of this case,
19   THE COURT HEREBY FINDS, FOR GOOD CAUSE SHOWN, as follows:
20        The May 21, 2007 sentencing hearing in this case is
21   continued to July 23, 2007, at 9:00 a.m.
22
23   IT IS SO ORDERED.
24   Dated:    May 8, 2007                       /s/ Anthony W. Ishii
     0m8i78                                UNITED STATES DISTRICT JUDGE
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